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 7
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 9
       REACHLOCAL, INC.

10
                           UNITED STATES DISTRICT COURT
11
12           CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
13     REACHLOCAL, INC., a Delaware           Case No. 2:16-cv-01007-R-AJW
14     corporation,
                                              Judge: Hon. Manuel L. Real
15
                    Plaintiff,
16                                            ORDER RE REACHLOCAL
17                  v.                        INC.’S APPLICATION FOR
                                              LEAVE TO FILE UNDER SEAL
18     PPC CLAIM LIMITED, a British
19     limited company; KIERAN PAUL           [Filed concurrently: ReachLocal Inc.’s
       CASSIDY, an individual; and DOES 1-    Application for Leave to File Under
20
       50,                                    Seal; Declaration of Jill R. Glennon;
21                                            Redacted Exhibit 1 Proposed to be
22                  Defendants.               Filed Under Seal; and Unredacted
                                              Exhibit 1 Proposed to be Filed Under
23                                            Seal]
24
                                              Date: April 16, 2018
25
                                              Time: 10:00 a.m.
26                                            Ctrm: 880
27
28
                                         ORDER
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 1           Plaintiff ReachLocal Inc.’s (“ReachLocal”) application for leave to file
 2     under seal in the above-captioned matter came before the court on April 16, 2018.
 3     Having read and considered the application, the supporting declaration, and the
 4     exhibits submitted by ReachLocal, the Court hereby grants ReachLocal’s request
 5     for leave:
 6           ReachLocal is ordered to file the following documents under seal:
 7             Exhibit 1 to the Declaration of Jill R. Glennon In Support of
 8                  ReachLocal’s Application for Leave to File Under Seal (Exhibits
 9                  A-K to the Declaration of Jill Glennon in support of ReachLocal’s
10                  Motion Finding Cassidy and PPC Claim, LTD. in Contempt of
11                  Protective Order and For Sanctions).
12
13
14
       IT IS ORDERED.
15
16
       Dated: March 20, 2018
17
18
19                                            Hon. Manuel L. Real
20                                            U.S. District Court Judge
                                             Central District of California
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28

                                        [PROPOSED] ORDER
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